         Case 3:24-cv-00523-HZ         Document 55         Filed 11/27/24       Page 1 of 7




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         Of Attorneys for Defendant
         Randy L L Corporation




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF OREGON
                                  PORTLAND DIVISION


    NADIA ROBERTS, an individual,                    Case No. 3:24-CV-00523-HZ
                          Plaintiff,                 DEFENDANT’S OBJECTIONS TO
                                                     SPECIAL APPEARANCE AND
                  v.                                 MOTION FOR EXTENSION OF TIME
                                                     TO RESPOND TO MOTION TO
    RANDY L L CORPORATION, an Oregon                 COMPEL
    Corporation,

                          Defendant.




         Defendant, Randy L L Corporation (“Defendant”) objects to Plaintiff’s counsel’s Special

Appearance and Motion For Extension of Time to [Respond] to Motion to Compel, as it

prejudices Defendant, likely constitutes a conflict of interest for Plaintiff’s counsel and such

motion contains fabricated assertions. Defendant’s motion to compel is related to the subpoena

personally served on Wampler, Carroll, Wilson & Sanderson, P.C. (“WCWS”) on September 16,

2024, to which it has refused to respond.

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1     DEFENDANT’S OBJECTIONS TO SPECIAL APPEARANCE AND MOTION FOR EXTENSION
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          Case 3:24-cv-00523-HZ          Document 55         Filed 11/27/24        Page 2 of 7




    I.       Plaintiff’s Counsel Impermissibly Combines Pleadings.

          Plaintiff’s counsel combines a notice of special appearance on behalf of WCWS and a

motion for extension of time to respond to Defendant’s motion to compel (“motion for

extension”).

          An attorney generally may not combine a special notice of appearance and a motion in

the same document. Both the Federal Rules of Civil Procedure (“FRCP”) and the Local Rules of

the District of Oregon (“LR”) require that motions and appearances be filed as separate

documents.

          Pursuant to FRCP 7(b)(1)(B) a motion must be stated with particularity, specifying the

grounds for the request and the relief sought. Combining a motion with a notice of appearance

may obscure the distinct purpose of each filing.

          Further, motions must comply with LR 7-1, which requires specific formatting,

certification of conferral with opposing counsel, and a clear identification of the motion. A

notice of appearance does not include these elements and has a different function.

          Notices of appearance are typically administrative filings to inform the court and

opposing parties of the attorney’s representation. They are not substantive and are separate from

motions. Additionally, LR 10-1 mandates that each filing must conform to formatting rules and

combining distinct documents like a notice of appearance and a motion violate these rules.

          Consequently, the Court should reject Plaintiff’s counsel’s special appearance and motion

for extension.

    II.      Plaintiff’s Counsel’s Special Appearance Is A Conflict Of Interest.

          The Oregon Rules of Professional Conduct (“RPC”) 1.7, provides that an attorney cannot

represent two clients if there is a direct conflict of interest, unless, 1. the representation does not
2   DEFENDANT’S OBJECTIONS TO SPECIAL APPEARANCE AND MOTION FOR EXTENSION
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                                   Portland, Oregon 97282
                                     503/207-0205
        Case 3:24-cv-00523-HZ            Document 55         Filed 11/27/24       Page 3 of 7




involve the assertions of claims by one client against the other in the same litigation; and 2. both

clients provide confirmed written consent.

        In this case, WCWS’s interest in resisting the compliance with the subpoena which is the

subject of the motion to compel is adverse to the Plaintiff’s interests, i.e., in bringing a

meritorious claim. This creates a conflict of interest that precludes Plaintiff’s counsel from

representing both Plaintiff and WCWS. If Plaintiff’s counsel and WCWS conspired to bring

ADA claims, including the present case, that lacked an objectively reasonable basis (as alleged

by Defendant), that action creates liability for the Plaintiff. Consequently, again, this creates a

conflict of interest for Plaintiff’s counsel.

        Further, Defendant has alleged and believes that the documents sought pursuant to the

subpoena will support the contention that Plaintiff’s counsel along with WCWS have conspired

to abuse the legal process and used Plaintiff as a mechanism of that fraud.

        Given this fact, even if there is an absence of direct adversity, Plaintiff’s counsel’s ability

to represent zealously could be materially limited by representing WCWS, as it is WCWS

interest that is paramount to Plaintiff’s counsel in these ADA troll cases. WCWS is believed to

have substantially profited by utilizing disabled people as a shill to extort Oregon businesses

based upon fraudulent ADA claims, including the present case. It is further believed that

WCWS was the primary beneficiary of this abuse of process and that WCWS directed Plaintiff’s

counsel in conjunction with this and other similar cases. Consequently, Plaintiff’s counsel might

be reluctant to push for certain actions in favor of Plaintiff if it was to the detriment of WCWS.

        RPC 1.7 requires that both Plaintiff and WCWS provide confirmed written consent, even

if the former part of the rule is met. Defendant does not believe that Plaintiff’s counsel obtained


3   DEFENDANT’S OBJECTIONS TO SPECIAL APPEARANCE AND MOTION FOR EXTENSION
                                 VERITAS BUSINESS LAW
                                        PO Box 82657
                                   Portland, Oregon 97282
                                     503/207-0205
           Case 3:24-cv-00523-HZ          Document 55         Filed 11/27/24      Page 4 of 7




such required informed written consent prior to filing her special appearance and motion for

extension.

    III.      Judicial Perception And Ethical Duties.

           Even, if the rules technically allow dual representation, courts may scrutinize the

arrangement to ensure no ethical impropriety arises, especially in cases involving federal statutes

like the ADA, where public policy concerns are significant. Given this fact, Defendant requests

that this Court, at a minimum, inquire further into such dual representation, the likely lack of

informed written consent and the resulting conflict of interest for Plaintiff’s counsel.

    IV.       WCWS Was Provided With The Motion Pursuant to FRCP 5.

           While Plaintiff’s counsel now complains that WCWS received the motion to compel by

US first class mail and not email, US first class mail is an acceptable means of transmitting

pleadings. FRCP 5(b)(2)(C). FRCP 5(b)(2)(C) provides that when serving pleadings by mail, the

“service is complete upon mailing.” Consequently, Plaintiff’s assertion that LR 7-1(e)(1) sets

the deadline for a response to a motion at 14 days from the date that mailing is “received,” is

contrary to the plain meaning of the FRCP, LR and contrary to the standard practice of law in

federal court in Oregon.

           Additionally, while Plaintiff’s counsel now complains that Defendant did not transmit the

motion to compel to WCWS by email, neither WCWS’ listing with the Tennessee Secretary of

State or WCWS’ own website for Jeffrey Lucas Sanderson list an email contact. Exhibit 1 and 2.

           While Plaintiff’s counsel and the declaration of Jeffrey Lucas Sanderson asserts that the

copy of the Defendant’s motion to compel WCWS’ response to the subpoena, sent on November

12, 2024, was not received until November 25, 2024, is suspect.


4   DEFENDANT’S OBJECTIONS TO SPECIAL APPEARANCE AND MOTION FOR EXTENSION
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                                        PO Box 82657
                                   Portland, Oregon 97282
                                     503/207-0205
         Case 3:24-cv-00523-HZ         Document 55        Filed 11/27/24       Page 5 of 7




         Plaintiff’s counsel received this pleading on November 12, 2024. This is undisputed. It

is simply not credible for Plaintiff’s counsel and WCWS to suggest that Plaintiff’s counsel did

not provide WCWS with an email or some other notice of the motion to compel on or about her

receipt of that motion. Consequently, it is disingenuous for Plaintiff’s counsel and WCWS to

now assert that it did not receive notice until November 25, 2024 and requires an extension of 21

days, making the total response time for the motion to compel, 35 days.

         Further, even if the Court was considering only the mailing of the motion to WCWS,

according to the US Postal Service, first class mail has a delivery time of one to five business

days. Exhibit 3. Consequently, the latest delivery time for the motion mailed on November 12,

2024 was November 19, 2024.

         The Court should note that WCWS is the same firm that refused to respond to the

subpoena that was personally served upon it and refused to respond to defense counsel when he

contacted WCWS by phone prior to filing the motion to compel. Plaintiff’s counsel and WCWS’

actions to further delay this matter prejudice the Defendant and should not be tolerated by this

Court.

         Further, if granted, the Defendant’s deadline for its Reply would be December 24, 2024,

i.e., Christmas Eve, creating an unreasonable hardship for Defendant and defense counsel.

    V.      Conclusion.

         Given that Plaintiff’s counsel’s special appearance and motion for extension

impermissibly combine pleadings that should otherwise be separate, the Court should deny their

motion.

         Further, given the likelihood that Plaintiff’s counsel’s representation of both WCWS and

Plaintiff create a conflict of interest, the Court should deny their motion. At a minimum, the
5   DEFENDANT’S OBJECTIONS TO SPECIAL APPEARANCE AND MOTION FOR EXTENSION
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                                        PO Box 82657
                                   Portland, Oregon 97282
                                     503/207-0205
       Case 3:24-cv-00523-HZ          Document 55        Filed 11/27/24       Page 6 of 7




Court should make further inquiry that the representation does not involve the assertions of

claims by one client against the other in the same litigation and both Plaintiff and WCWS

provide confirmed written consent.

       Finally, given the November 12, 2024, service of the motion to compel on WCWS by US

first class mail, Plaintiff’s counsel’s likely transmission of the motion to WCWS on or about the

same date and the prejudice of further delay, Defendant respectfully requests that this Court deny

WCWS’ request for an extension.




       DATED this 27th day of November, 2024.

                                             VERITAS BUSINESS LAW

                                             /s/ Ted Roe
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                                             Of Attorney for Defendant
                                             Randy L L Corporation




6   DEFENDANT’S OBJECTIONS TO SPECIAL APPEARANCE AND MOTION FOR EXTENSION
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                                   Portland, Oregon 97282
                                     503/207-0205
       Case 3:24-cv-00523-HZ          Document 55        Filed 11/27/24      Page 7 of 7




                                CERTIFICATE OF SERVICE

I hereby certify that I served a true and correct copy of the foregoing DEFENDANT’S
OBJECTIONS TO SPECIAL APPEARANCE AND MOTION FOR EXTENSION OF
TIME TO RESPOND TO MOTION TO COMPEL and exhibits by:

       ☐      U.S. POSTAL SERVICE
       ☐      U.S. POSTAL SERVICE, CERTIFIED MAIL, RETURN RECEIPT
              REQUESTED
       ☐      FACSIMILE SERVICE
             ELECTRONIC MAIL
       ☐      HAND DELIVERY
       ☐      FEDERAL EXPRESS

addressed to the following named individual(s)/business(es) at their last known address(es) on
the date stated below:


       Jessica Molligan
       Attorney at Law
       PO Box 16893
       Portland, OR 97292
       jessicamolligan@comcast.net

       DATED this 27th day of November, 2024.


                                     /s/ Ted Roe
                                     Ted Roe, OSB No. 991004
                                     Of Attorney for Defendant




7   DEFENDANT’S OBJECTIONS TO SPECIAL APPEARANCE AND MOTION FOR EXTENSION
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